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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  A.S.R., individually and on behalf of all others
  similarly situated,

  Petitioner–Plaintiff,
                                                           Case No. 3:25-cv-00113-SLH
  v.
                                                           Judge Stephanie L. Haines
  DONALD J. TRUMP, in his official capacity as
  President of the United States, et al.,
                                                           MEMORANDUM OF LAW IN
  Respondents–Defendants.
                                                           SUPPORT OF PETITIONER-
                                                           PLAINTIFF’S MOTION FOR
                                                           CLASSWIDE PRELIMINARY
                                                           INJUNCTION


                  MEMORANDUM OF LAW IN SUPPORT OF
       PETITIONER-PLAINTIFF’S MOTION FOR CLASSWIDE PRELIMINARY
                              INJUNCTION

                                       INTRODUCTION

       As several other courts have already observed, the Proclamation is unlawful because the

Alien Enemies Act (“AEA”) is a wartime measure that cannot be used where, as here, there is

neither an “invasion or predatory incursion” nor such an act perpetrated by a “foreign nation or

government.” See J.G.G. v. Trump, No. 25-2067, 2025 WL 914682, at *8-10 (D.C. Cir. Mar. 26,

2025) (Henderson, J., concurring); D.B.U. v. Trump, No. 1:25-CV-01163-CNS, 2025 WL

1163530, at *9-11 (D. Colo. Apr. 22, 2025). And even if it could be used against a non-military

criminal “gang” during peacetime, targeted individuals must be provided with a meaningful chance

to contest that they fall within the Proclamation’s scope. J.G.G. v. Trump, 145 S. Ct. 1003, 1006

(2025) (per curiam). Recent developments further confirm these principles and highlight the stark

dangers that Petitioner and class members face.

       Specifically, the government recently made clear that its position is now that someone


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could be designated under the AEA and removed as soon as 12 hours after notice of the

designation. See ECF No. 40-1 (Cisneros Decl.) ¶ 11. Moreover, not only has the government now

stated that a mere 12 hours is the required notice, but, contrary to this Court’s order, ECF No. 44

at 8, it has continued to use English-only notice forms that do not tell the recipient that they can

contest their designation, much less tell them how to do so or even that they only have 12 hours to

do so. ECF No. 40-1 at 5 (Form AEA-21B). There is no conceivable way that such a process

complies with what the Supreme Court has held is required: notice “within a reasonable time and

in such a manner as will allow them to actually seek habeas relief.” J.G.G., 145 S. Ct. at 1006

(emphasis added).

        Also notable is the memo issued by the Attorney General from March 14, which became

public after this Court issued a TRO. See Exh. H (Sarabia Roman Decl.), at Exh. 3. In that memo,

the Department of Justice (“DOJ”) made clear its view of the unprecedented power to swiftly arrest

and remove anyone it deems an alien enemy. Id. As the memo states, “the ultimate goal is

immediate identification and removal of Alien Enemies.” Id. at 3; see also id. at 5 (referencing the

memo’s “immediate removal requirement”). The detained person may be held in “any location

deemed suitable” by DOJ or the Department of Homeland Security (“DHS”): class members could

be in federal, state, or local custody, or in privately run detention facilities. See id. at 4 (“Step 6:

Detention”). This means class members held in a range of detention facilities could be designated

and whisked away within 12 hours, without any realistic chance to be heard in a court of law. 1

        For these and other reasons, Petitioner-Plaintiff (“Petitioner”) is likely to succeed on the

merits. And the remaining factors also tip decidedly in Petitioner’s favor. Without an injunction,



1
  Remarkably, the memorandum also authorizes officers to enter the home of a suspected TdA
member without even an administrative warrant, much less the required judicial warrant to enter
a home.


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the government will be free to send hundreds more individuals, including Petitioner and class

members, to the notorious Salvadoran prison where they may be held incommunicado for the rest

of their lives. The harm is only magnified by the government’s position that mistakes cannot be

remedied, and once an individual is in a foreign prison, they are stuck there. The government will

suffer no comparable harm given that the injunction would not prevent it from prosecuting anyone

who commits a criminal offense, detaining anyone, or even removing anyone under immigration

laws.

                          LEGAL AND FACTUAL BACKGROUND

         On March 14, purporting to invoke the AEA, 50 U.S.C. §§ 21-24, the President signed a

Proclamation announcing that Tren de Aragua (“TdA”), a Venezuelan gang, is “perpetrating,

attempting, and threatening an invasion or predatory incursion” against the United States. See

Invocation of the Alien Enemies Act Regarding the Invasion of the United States by Tren de

Aragua (Mar. 15, 2025) (“Proclamation”). 2 Since that time, Respondents-Defendants

(“Respondents”) have used the AEA to summarily remove well over 100 people—many with

pending removal proceedings—to El Salvador, where they potentially face lifetime

incommunicado sentences in one of the most notorious prisons in the world. Exh. D, (Bishop

Decl.) ¶ ¶ 21, 23, 25, 30; Exh. E (Goebertus Decl.) ¶ ¶ 3, 4.

         The Supreme Court has made clear that individuals “must receive notice” “that they are

subject to removal under the Act,” and such “notice must be afforded within a reasonable time and

in such a manner as will allow them to actually seek habeas relief in the proper venue before such

removal occurs.” J.G.G., 145 S. Ct. at 1006. Respondents maintain that they can comply with this

ruling by providing a notice written in English to designated individuals only 12 hours ahead of



2
    https://perma.cc/ZS8M-ZQHJ.


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their scheduled removal and allowing those who affirmatively indicate an intent to file habeas

petitions 24 hours to do so. See ECF No. 40-1 (Cisneros Decl.) ¶ 11. The notice form does not

inform the individual of any right to contest their designation, let alone what they must do to

contest it. See id. at 5 (Form AEA-21B).

       Without a meaningful opportunity to contest their designation under the AEA, Petitioner

and members of the provisionally certified class are at grave risk of erroneous removal. A.S.R.

vehemently contests his membership in TdA. ECF No. 3-1 ¶ 7. And evidence since the March 15

flights increasingly shows that many individuals previously removed under the AEA have no ties

to TdA at all. In one instance, a professional makeup artist was designated solely on the basis of

two crown tattoos, which accompany the words “Mom” and “Dad.” See Exh. F (Reyes Decl.) ¶¶

4-7, 21-23. A professional soccer player was sent to the Salvadoran prison based on a tattoo of a

soccer ball with a crown—similar to the logo of his favorite soccer team, Real Madrid—and a

social media post where he made a gesture that means “I love you” in sign language. Exh. G (Tobin

Decl.) ¶ 7. And another man who was removed had a tattoo of the autism awareness ribbon with

the name of his brother, who is autistic, on it. Exh. H (Sarabia Roman Decl.), at Exh. 12. And in

habeas corpus proceedings in the Western District of Texas, a couple was detained and designated

as alien enemies for the second time, despite the government having what amounted to “no

evidence” of membership in TdA. See Sanchez Puentes v. Garite, No. EP-25-CV-00127-DB, 2025

WL 1203179, at *15 (W.D. Tex. Apr. 25, 2025) (holding that TdA accusations were “completely

and wholly unsubstantiated by anything meaningful in the record” and ordering release).

       These errors are unsurprising given that Respondents are relying on dubious evidence—if

any evidence at all—to support their allegations. Respondents often point to an individual’s tattoos

as evidence of TdA membership. Exh. A (Hanson Decl.) ¶ 24. But experts who have spent decades




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studying TdA explain that the gang “has never had . . . identity marks such as tattoos that identify

its members.” Exh. B (Antillano Decl.) ¶ 14; Exh. A (Hanson Decl.) ¶¶ 22, 24 (“Tattoos are not a

reliable way to identify members of the group.”); Exh. C (Dudley Decl.) ¶ 25 (tattoos are not a

“reliable means” of identifying TdA). 3 Other characteristics that the government relies upon are

equally likely to sweep in a broad swath of individuals with no substantial connection to TdA. See

generally Exh. H (Sarabia Roman Decl.), at Exh. 1; see also Sanchez-Puentes, 2025 WL 1203179,

at *14-15 (finding “shoddy affidavits and contradictory testimony” offered by the government for

TdA designation that amounted to “no evidence”).

       If Petitioner is illegally sent to a foreign country, the government will argue, as it already

has, that this Court no longer has jurisdiction to remedy its unlawful use of the AEA. Indeed,

Respondents have taken that precise position in Abrego Garcia v. Noem, a case brought by a

Maryland father who was, as the government has admitted, mistakenly deported to El Salvador

despite having withholding of removal as to that country. Abrego Garcia v. Noem, No. 25-1404,

2025 WL 1135112, at *2 (4th Cir. Apr. 17, 2025) (“both the United States and the El Salvadoran

governments disclaim any authority and/or responsibility to return” noncitizens wrongly

deported). The same fate awaits this class absent a preliminary injunction. And the conditions

Petitioner and members of the class would face in El Salvador are horrific. See generally Exh. D



3
  Documents from the government demonstrate the problems with using tattoos and dress as an
identifier for TdA. For example, the Chicago Homeland Security Investigations office identified
wearing a Chicago Bulls jersey, specifically a Michael Jordan jersey, as a TdA marker—never
mind that the Bulls are the home team in Chicago and Michael Jordan remains one of Chicago’s
biggest stars. Exh. H (Sarabia Roman Decl.), at Exh. 4; see also id. at Exh. 15 (“The idea that a
Jordan tattoo or jersey would be used to link someone with Tren de Aragua is close to
laughable.”); Exh. A (Hanson Decl.) ¶ 24 (same). In fact, the government’s own intelligence is
internally contradictory. See, e.g., Exh. H (Sarabia Roman Decl.), at Exh. 5 (“EPT-HUMINT-
Gang Unit collections determined that the Chicago Bulls attire, clocks, and rose tattoos are
typically related to the Venezuelan culture and not a definite indicator of being a member or
associate of the TDA.”).


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(Bishop Decl.); Exh. E (Goebertus Decl.).

       Even if sent back to Venezuela, Petitioner and members of the provisionally certified class

have a strong claim for relief under our immigration laws. For example, A.S.R. is afraid to return

to Venezuela, which he fled after his business was extorted by groups associated with the Maduro

regime ECF No. 3-1 ¶ 6. He seeks asylum, withholding of removal, and protection under the

Convention Against Torture based on his fear of persecution and torture if returned. Id.

       Finally, experts who have spent over a decade studying policing, violence, migration,

prisons, and organized crime in Venezuela—and TdA in particular—submit declarations with this

motion that provide a more accurate, comprehensive picture of TdA and its activities. TdA is a

loose, decentralized group without a clear hierarchy or membership. Exh. A (Hanson Decl.) ¶¶ 1,

27; Exh. B (Antillano Decl.) ¶ 10. TdA does not act as the de facto government in any region of

Venezuela. Exh. A (Hanson Decl.) ¶¶ 13-16. Nor is there evidence of direct and stable links

between the Maduro regime and TdA or that the gang is intertwined with the Maduro regime. Exh.

A (Hanson Decl.) ¶¶ 1, 14, 17; Exh. B (Antillano Decl.) ¶ 13; Exh. C (Dudley Decl.) ¶¶ 2, 21, 23.

Experts have also explained that TdA does not have a significant presence in the United States and

that its activities here are not widespread or coordinated. Exh. A (Hanson Decl.) ¶¶ 19, 27; Exh. B

(Antillano Decl.) ¶ 12; Exh. C (Dudley Decl.) ¶¶ 2, 24. There is no evidence to indicate that the

Venezuelan government has directed TdA to enter the United States or that it controls TdA’s

activities within the United States. Exh. A (Hanson Decl.) ¶¶ 17, 20; Exh. B (Antillano Decl.) ¶13;

Exh. C (Dudley Decl.) ¶¶ 2, 23-24. In fact, the government’s own intelligence agencies circulated

findings in February 2025 that contradict the assertions in the Proclamation. Exh. H (Sarabia

Roman Decl.), at Exhs. 14, 19 (intelligence community concluded that TdA does not operate at

the direction of Maduro or Venezuela).




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         Recent events make the need for interim relief even more pressing. In mid-April, dozens

of Venezuelan men—accused of TdA membership, like the certified class here—were suddenly

transferred from all over the country to a facility in North Texas. There, they were given forms in

English with 24 hours’ or less notice ahead of their removals pursuant to the AEA—necessitating

the Supreme Court’s intervention. See A.A.R.P. v. Trump, 145 S. Ct. 1034 (Apr. 19, 2025). This

happened just hours after the district court in that district denied a TRO, concluding that based on

the Supreme Court’s “opinion in J.G.G., along with the government’s general representations

about the procedures necessary in these cases,” that the certified class was not at imminent risk of

removal. A.A.R.P. v. Trump, No. 1:25-CV-059-H, 2025 WL 1148140, *4 (N.D. Tex. Apr. 17,

2025).

                                      LEGAL STANDARD

         To obtain a preliminary injunction to preserve the status quo, as Petitioner seeks, the

moving party must establish that “(1) he is likely to succeed on the merits, (2) he will suffer

irreparable harm without preliminary relief, (3) the balance of equities favors an injunction, and

(4) an injunction is in the public interest.” Veterans Guardian VA Claim Consulting LLC v. Platkin,

133 F.4th 213, 218 (3d Cir. 2025) (citing Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20

(2008)). The court “should also consider whether the injunction is needed to keep the case alive

until the court can award final relief.” Id. at 219 (citing Del. State Sportsmen’s Ass’n, Inc. v. Del.

Dep’t of Safety & Homeland Sec., 108 F.4th 194, 200-03 (3d Cir. 2024).

                                               ARGUMENT

         The Proclamation is unlawful for a host of substantive and procedural reasons. The AEA

can only be used during military hostilities, against a foreign government or nation. Neither of

those conditions is met here. And even if the Act could be used against a criminal gang during




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peacetime, Respondents’ attempt to summarily remove people violates due process and the AEA

itself, which both require notice and a meaningful opportunity to contest one’s designation as an

alien enemy. Respondents also may not remove people without following the INA’s procedural

requirements and obeying the INA’s bar against removal to countries where a person faces

persecution or torture. These claims are all justiciable, as the Supreme Court recognized.

I.     Petitioner Has Standing and This Court Has Jurisdiction.

       Petitioner has standing because he is at substantial risk of imminent removal. 4 Susan B.

Anthony List v. Driehaus, 573 U.S. 149, 158 (2014); Clemens v. ExecuPharm Inc., 48 F.4th 146,

152 (3d Cir. 2022) (“a plaintiff need not wait until he or she has actually sustained the feared harm

in order to seek judicial redress”); see also D.B.U., 2025 WL 1163530, at *6 (applying Driehaus

to find a substantial risk of harm despite the fact that no named petitioner had a current AEA

designation). Respondents have wrongly accused Petitioner of affiliation with TdA, ECF No. 3-1

¶ 5, and, in fact, already transferred him on April 15 to Bluebonnet Detention Center, where the

government was aggregating Venezuelans for removal under the AEA. ECF No. 39 at 3; see also

Emergency App. for Emergency Inj., A.A.R.P. v. Trump, 145 S. Ct. 1034 (2025), (No. 24A1007),

2025 WL 1171734 at *4. Petitioner is thus at substantial risk of removal—removal the government

claims that it can conduct with only 12 hours of notice. ECF No. 40-1 (Cisneros Decl.) ¶ 11.

       Moreover, Respondents have both refused to disclose whether they have reviewed

Petitioner for AEA designation and refused to disavow an intention to invoke the AEA against

Petitioner. See ECF No. 26-5 (O’Neill Decl) ¶ 18; see generally ECF No. 41-1 (O’Neill Suppl.

Decl.). Respondent also have not provided any assurances they will not attempt to remove



4
 As this Court has already found, it has jurisdiction to hear Petitioner’s habeas case because he
was present in this District when he filed his petition and named his immediate custodian. ECF
No. 44 at 4-5.


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Petitioner or any of the class members pursuant to the AEA pending resolution of this litigation.

See Planned Parenthood of Central N.J. v. Farmer, 220 F.3d 127, 148 (3d Cir. 2000) (finding

standing where “plaintiffs received no assurances that [the law] would not be enforced against

them”); ECF No. 40-1 (Cisneros Decl.) ¶ 12 (“ICE may reconsider” general representation not to

“remove under the AEA an alien who has filed a habeas petition” when “a TRO has been denied

and the habeas proceedings have not concluded within a reasonable time”). And Respondents have

already removed a number of similarly situated individuals previously detained at Moshannon to

CECOT, via Texas. ECF No. 1 ¶ 63; see also Schrader v. Dist. Att’y of York Cnty., 74 F.4th 120,

125 (3d Cir. 2023) (“[P]ast enforcement against the same conduct is good evidence that the threat

of enforcement is not ‘chimerical.’” (citation omitted)); id. (finding credible threat of enforcement

where “though the DA has suggested that he would not prosecute [plaintiff] . . . he has not

disavowed that possibility”). 5

       The existing risk of AEA designation, near immediate and potentially irrevocable removal,

and indefinite incarceration in a foreign prison is sufficient to establish standing.

II.    Petitioner’s Claims Are Justiciable.

       As the Supreme Court recently confirmed, courts can review not only whether an

individual “‘is in fact an alien enemy’” under the AEA, but also “‘questions of interpretation and

constitutionality’ of the Act.” J.G.G., 2025 WL 1024097, at *2 (quoting Ludecke v. Watkins, 335

U.S. 160, 163, 172 n.17 (1948)). Thus, Petitioner’s claims that the AEA’s statutory predicates have



5
  Underscoring the dangers faced by anyone previously accused of being a TdA member, a couple
was rearrested under the AEA, even after the government had represented it would not “detain[]
based on the present circumstances,” after previously accusing them of TdA membership and
status as alien enemies. See Sanchez-Puentes, 2025 WL 1203179, at *4, 15 (describing multiple
arrests and holding that the government “has no evidence” to substantiate TdA allegations); see
also id. at *16 (noting “the Executive’s unpredictable and inconsistent use of this [AEA] power”).



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not been met—because TdA is not a “nation or government,” and is not engaged in an “invasion

or predatory incursion”—are fully within this Court’s jurisdiction. 6 See J.G.G., 2025 WL 914682,

at *6-7 (Henderson, J. concurring).

        Ludecke itself reached the merits of the statutory question presented there: whether a

“declared war” no longer existed within the meaning of the Act when “actual hostilities” had

ceased—i.e., the “shooting war” had ended. 335 U.S. at 166–70. The Supreme Court concluded,

on the merits, that the statutory term “declared war” did not mean “actual hostilities,” and that

once Congress declares war, the war continues for purposes of the AEA until the political branches

declare it over. Id. at 170 & n.15. The “political judgment” that Ludecke declined to revisit, id. at

170, was simply the decision of Congress and the President not to formally declare the war over,

id. at 169. Nowhere did Ludecke suggest that questions of statutory interpretation are beyond the

courts’ competence. Indeed, four years later, the Court reversed a government World War II

removal decision because “[t]he statutory power of the Attorney General to remove petitioner as

an enemy alien ended wh[en] Congress terminated the war.” U.S. ex rel. Jaegeler v. Carusi, 342

U.S. 347, 348 (1952).

        Consistent with Ludecke’s recognition (twice in the opinion) that questions about the

“construction,” “interpretation,” and “validity” of the AEA are justiciable, 335 U.S. at 163, 171,

courts have reviewed a range of issues concerning the meaning and application of the AEA’s terms.

See, e.g., U.S. ex rel. Kessler v. Watkins, 163 F.2d 140, 143 (2d Cir. 1947) (interpreting the

meaning of “foreign nation or government”); U.S. ex rel. Zdunic v. Uhl, 137 F.2d 858, 860–61 (2d

Cir. 1943) (“[t]he meaning of [native, citizen, denizen, or subject] as used in the statute . . . presents



6
 The Supreme Court also held that noncitizens subject to the AEA must receive certain procedural
protections. J.G.G., 2025 WL 1024097, at *1–2 (addressing plaintiffs’ “due process rights”).
Petitioner’s procedural claims are therefore all justiciable.


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a question of law”; interpreting meaning of “denizen” and remanding for hearing on disputed

facts); U.S. ex rel. Gregoire v. Watkins, 164 F.2d 137, 138 (2d Cir. 1947) (interpreting the meaning

of “native”; discussing alternatives to attain a “logically consistent construction of the statute”);

U.S. ex rel. D’Esquiva v. Uhl, 137 F.2d 903, 905–07 (2d Cir. 1943) (interpreting the meaning of

“native” and reviewing executive branch’s position on legal status of Austria); U.S. ex rel.

Schwarzkopf v. Uhl, 137 F.2d 898, 903 (2d Cir. 1943) (interpreting the meaning of “citizen” and

legal effects of Germany’s annexation of Austria); Bauer v. Watkins, 171 F.2d 492, 493 (2d Cir.

1948) (holding that the government bears the burden of proof of establishing the citizenship of

“alien enemy”); Citizens Protective League v. Clark, 155 F.2d 290, 292, 295 (D.C. Cir. 1946)

(reviewing whether Proclamation was within “the precise terms” of the AEA, and whether AEA

was impliedly repealed); U.S. ex rel. Von Heymann v. Watkins, 159 F.2d 650, 653 (2d Cir. 1947)

(interpreting “within the United States”; requiring executive branch to show that the petitioner

“refuse[d] or neglect[ed] to depart” under Section 21); U.S. ex rel. Ludwig v. Watkins, 164 F.2d

456, 457 (2d Cir. 1947) (interpreting “refuse or neglect to depart” in Section 21 as creating a “right

of voluntary departure” that functions as a “statutory condition precedent” to the government’s

right to deport enemy aliens); U.S. ex rel. Hoehn v. Shaughnessy, 175 F.2d 116, 117–18 (2d Cir.

1949) (interpreting “reasonable time” to depart under Section 22). These kinds of questions—

concerning the “construction” and “interpretation” of the AEA, Ludecke, 335 U.S. at 163, 171—

are squarely at issue here.

       Nor does the “political question” doctrine pose any barrier to this Court interpreting the

statutory terms of the AEA. The Supreme Court foreclosed that possibility in J.G.G. and Ludecke,

by instructing courts to resolve questions of the AEA’s “construction and validity” and

“interpretation and constitutionality.” Ludecke, 335 U.S. at 163, 171; J.G.G., 2025 WL 1024097,




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at *2; see also, e.g., J.G.G. v. Trump, No. 25-5067, 2025 WL 914682, at *6–8 (D.C. Cir. Mar. 26,

2025) (Henderson, J., concurring) (rejecting government’s political-question arguments).

       More generally, the political question doctrine is a “narrow exception” to courts’

jurisdiction, Zivotofsky ex rel. Zivotofsky v. Clinton, 566 U.S. 189, 195 (2012), and exists primarily

to reinforce the separation of powers, Baker v. Carr, 369 U.S. 186, 210 (1962). But applying the

doctrine here would undermine Congress’s constitutional authority, because it would render the

limits that Congress wrote into the statute unenforceable. Petitioner is not aware of any Supreme

Court decision that has found a statutory claim non-justiciable. See El-Shifa Pharm. Indus. Co. v.

United States, 607 F.3d 836, 855–56 (D.C. Cir. 2010) (en banc) (Kavanaugh, J., concurring) (“The

Supreme Court has never applied the political question doctrine in a case involving alleged

statutory violations.”); see also Khouzam v. Att’y Gen. of U.S., 549 F.3d 235, 253 (3d Cir. 2008)

(“one of the Judiciary’s characteristic roles is to interpret statutes, and we cannot shirk this

responsibility merely because our decision may have significant political overtones”). Here,

judicial review of Petitioner’s challenge preserves the separation of powers by ensuring that the

President does not exceed the specific authority Congress delegated in the AEA. See Youngstown

Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 637–38 (1952) (Jackson, J., concurring). Indeed, the

AEA states that the President has the power to detain and remove alien enemies when there “is” a

declared war or where there “is” an invasion or predatory incursion, thereby making clear that the

President cannot simply find or deem there to be a war, invasion, or incursion. Compare 50 U.S.C.

§ 21 with 8 U.S.C. § 1182(f) (allowing the President to suspend entry of noncitizens into the

country where he “finds” it not in the “interests of the United States”). 7



7
 Petitioner does not seek to enjoin the President, but he remains a proper respondent because
Petitioner may obtain declaratory relief against him. See, e.g., Nat’l Treasury Emps. Union v.



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III.   Petitioner Is Likely to Succeed on the Merits.

       To prevail on this prong, Petitioner need establish “only a ‘reasonable probability’ of

success—odds that are ‘significantly better than negligible but not necessarily more likely than

not.’” Veterans Guardian, 133 F.4th at 218. Petitioner easily meets that burden.

       A.      The Proclamation Violates the AEA and the Constitution.

       The Proclamation is unprecedented, violating the AEA and the Constitution in three critical

respects: there is no meaningful notice or process to contest whether an individual falls within the

Proclamation; there is no invasion or predatory incursion; and there is no foreign government or

nation within the meaning of the statute. When the government asserts “an unheralded power” in

a “long-extant statute,” courts “greet its announcement with a measure of skepticism.” Util. Air

Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014). That skepticism is well warranted here.

               1.      Summary Removals Without Notice and a Meaningful Opportunity to
                       Challenge “Alien Enemy” Designations Violate the AEA and Due
                       Process.

       As the Supreme Court has now made clear, both the AEA and Due Process require

Respondents to provide Petitioner and the class with notice and a meaningful opportunity to

challenge their designation as alien enemies before removal is permissible under the Proclamation.

See J.G.G., 145 S. Ct. at 1006 (“The notice must be afforded within a reasonable time and in such

a manner as will allow [AEA detainees] to actually seek habeas relief in the proper venue before

such removal occurs.”); see also J.G.G., 2025 WL 914682, at *14–15 (Millett, J., concurring) (“At

its most basic, due process requires notice of adverse governmental action, an opportunity to be

heard, and the right to an unbiased decisionmaker.”). This aligns with Third Circuit precedent


Nixon, 492 F.2d 587, 616 (D.C. Cir. 1974) (concluding that court had jurisdiction to issue writ of
mandamus against the President but “opt[ing] instead” to issue declaration). The Court’s TRO
expressly did not enjoin the President. ECF No. 44 at 3 n.2.


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holding that “due process guarantees three basic things in the removal context”: (1) “factfinding

based on a record produced before the decisionmaker and disclosed to” the noncitizen; (2) an

opportunity for the noncitizen “to make arguments on his or her own behalf”; and (3) “an

individualized determination” by a “neutral and impartial decisionmaker.” Khouzam, 549 F.3d at

257 (internal quotations and citations omitted). Respondents provide none of the above here.

       Respondents recently revealed what notice they believe is necessary under the Supreme

Court’s order—they claim the right to remove people within 12 hours if they do not affirmatively

state an intent to file a writ of habeas corpus and within 24 hours even if they do, if they have not

been able to file such a writ within that time. ECF No. 40-1 ¶ 11-12. That is patently insufficient.

As during World War II, assuming arguendo the government can use the AEA, Respondents must

provide notice to individuals at least 30 days before any attempt to remove them under the AEA.

10 Fed. Reg. 12189 (Sept. 28, 1945). Given the possibility that Respondents may seek to remove

individuals with as little as 12 hours’ notice, a preliminary injunction is warranted to ensure that

Respondents do not remove individuals before they receive adequate notice and a reasonable

opportunity to “actually” obtain judicial review, consistent with due process. J.G.G., 145 S. Ct. at

1006 (“‘It is well established that the Fifth Amendment entitles [noncitizens] to due process of

law’ in the context of removal proceedings.”).

       Moreover, the notice form itself is strikingly deficient. See ECF No. 40-1 at 5 (Form AEA-

21B). As this Court found in its TRO Order, notice must be provided in writing in a language that

the individual understands. ECF No. 44 at 8. But the notice fails on that front. ECF No. 40-1 ¶ 5

(notice “is written in the English language”). Nor does it inform proposed class members of their

right to contest the designation in federal court, or explain how they can do so. It also does not

include the factual basis for the individual’s alien enemy designation. See Ralls Corp. v. Comm.




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on Foreign Inv. in U.S., 758 F.3d 296, 318 (D.C. Cir. 2014) (“Both the Supreme Court and this

Court have recognized that the right to know the factual basis for [government] action and the

opportunity to rebut the evidence supporting that action are essential components of due process.”).

Finally, the notice is not provided to undersigned class counsel. Notice to class counsel is all the

more important given how quickly the government is moving to remove people under the AEA.

As a judge in the District of Colorado found, “[v]aguely granting someone permission to make

one phone call if they ask—with, at most, a verbal read-aloud of the Notice that on its face says

nothing about the right to seek habeas relief—does not rise to the level of ‘allowing detainees to

actually seek habeas relief.’” D.B.U., 2025 WL 1163530, at *11 (quoting J.G.G., 145 S. Ct. at

1006).

         The notice requirement flows not only from due process but from the AEA itself. That is

clear from the Supreme Court’s understanding of the AEA in Ludecke, which recognized that

individuals would have the opportunity to seek court review of their designation under the Act.

See, e.g., 335 U.S. at 171 n.17. And it is clear from the statute, which affords individuals designated

as alien enemies an opportunity to voluntarily depart the United States and to settle their affairs.

See 50 U.S.C. §§ 21–22. Among other things, the President may lawfully remove noncitizens

under the AEA only when those designated noncitizens “refuse or neglect to depart” voluntarily.

See J.G.G., 2025 WL 890401, at *14 (citing 50 U.S.C. § 21). Indeed, even during World War II,

courts interpreting the AEA consistently recognized that “alien enemies” retained the right to

voluntary departure. See U.S. ex rel. Ludwig, 164 F.2d at 457 (Section 21 establishes a “right of

voluntary departure”); U.S. ex rel. Von Heymann v. Watkins, 159 F.2d 650, 653 (2d Cir. 1947);

United States ex rel. Dorfler v. Watkins, 171 F.2d 431, 432 (2d Cir. 1948) (“An alien must be

afforded the privilege of voluntary departure before the Attorney General can lawfully remove him




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against his will.”). Under Section 21, there is no exception to the general right of voluntary

departure; it is a “statutory condition precedent” to removal. U.S. ex rel. Ludwig, 164 F.2d at 457.

Section 22 establishes separate rights concerning the particular conditions for departure, with an

exception for those “chargeable with actual hostility, or other crime against the public safety.” 50

U.S.C. § 22. However, that exception cannot be invoked categorically. It instead requires

individualized assessments: each noncitizen must specifically be “chargeable” to lose eligibility

for the rights described in Section 22. Respondents have made no such individualized assessments

here—much less provided any opportunity to contest such findings.

                2.       The Proclamation Does Not Fall within the Statutory Bounds of the
                         AEA.

       The AEA has only ever been invoked in times of declared war: the War of 1812, World

War I, and World War II. The government seeks to invoke this limited wartime authority to execute

removals wholly untethered to any actual or imminent war or to the specific conditions Congress

placed in the statute.

       First, as Judge Henderson of the D.C. Circuit explained, J.G.G., 2025 WL 914682, at *8-

10, there is no “invasion” or “predatory incursion” upon the United States. See also D.B.U. v.

Trump, No. 1:25-CV-01163-CNS, 2025 WL 1163530, at *9-11 (D. Colo. Apr. 22, 2025) (same).

Starting with contemporaneous dictionary definitions, as both Judge Henderson and the district

court in the District of Colorado did, it is clear that Congress understood those terms to mean a

military intrusion into the territory of the United States. See Bartenwerfer v. Buckley, 598 U.S. 69,

74 (2023) (“We start where we always do: with the text of the statute.”); see also Webster’s

Dictionary, Invasion (1828) (underscoring that “invasion” is “particularly, the entrance of a hostile

army into a country for purpose of conquest or plunder, or the attack of a military force”);

Johnson’s Dictionary, Invasion (1773) (“invasion” is a “[h]ostile entrance upon the right or


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possession of another; hostile encroachment” such as when “William the Conqueror invaded

England”); Webster’s Dictionary, Predatory (1828) (“predatory” underscores that the purpose of

a military party’s “incursion” was “plundering” or “pillaging”); Johnson’s Dictionary, Incursion

(1773) (“[a]ttack” or “[i]nvasion without conquest”). See D.B.U., 2025 WL 1163530, at *10

(“These words, fundamentally, demand military and wartime action.”).

       Other contemporary founding era usages of the terms are in accord. The Founders

frequently used both “invasion” and “predatory incursion” in the military sense. See, e.g., Letter

from Timothy Pickering to Alexander Hamilton (June 9, 1798) (reporting that “predatory

incursions of the French” might result in “great destruction of property” but that militia could repel

them); 8 Letter from George Washington to Thomas Jefferson (Feb. 6, 1781) (describing a British

raid that destroyed military supplies and infrastructure in Richmond as a “predatory incursion”); 9

Letter from George Washington to Nathanael Greene (Jan. 29, 1783) (“predatory incursions” by

the British could be managed with limited cavalry troops); 10 John Jay, Con’t Cong., Draft of an

Address of the Convention of the Representatives of the State of New York to Their Constituents

(Dec. 23, 1776) (describing the goal of British invasion as “the conquest of America”). 11 Courts

did the same. Huidekoper’s Lessee v. Douglass, 7 U.S. (3 Cranch) 1, 11 (1805) (“predatory

incursions” by Native American nation led to “an Indian war”); Cherokee Nation v. Georgia, 30

U.S. (5 Pet.) 1, 10 (1831) (“incursions” by Native American nations led to retaliatory “war of

extermination”); Worcester v. Georgia, 31 U.S. (6 Pet.) 515, 545 (1832) (explaining that

Pennsylvania’s royal charter included “the power of war” to repel “incursions” by “barbarous




8
  https://perma.cc/H2UY-XTTK.
9
  https://perma.cc/6UBY-6PRB.
10
   https://perma.cc/TY8Y-MTMA.
11
   https://perma.cc/K4SX-4KYB.


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nations”). And “in every instance” that the term “invasion” or “invade” appears in the Constitution,

it “is used in the military sense.” J.G.G., 2025 WL 914682, at *9 (Henderson, J., concurring).

       The interpretive canon of noscitur a sociis confirms Petitioner’s interpretation. That canon

“avoid[s] ascribing to one word a meaning so broad that it is inconsistent with its accompanying

words, thus giving unintended breadth to the Acts of Congress.” Yates v. United States, 574 U.S.

528, 543 (2015) (internal quotation marks omitted). Courts thus look to “[t]he words immediately

surrounding” the language to be interpreted to ascertain the “more precise content” of that

language. Id. (internal quotation marks omitted). Accordingly, in this case, “invasion” and

“predatory incursion” should be read in light of the immediately neighboring term, “declared war.”

See Jarecki v. G.D. Searle & Co., 367 U.S. 303, 307 (1961). Doing so highlights the express

military nature of their usage here—they are more specific than just any hostile entrance. Cf.

Office of Legislative Affairs, Proposed Amendment to AEA, at 2 n.1 (Aug. 27, 1980)) (AEA

contemplates use by the President only “in situations where war is imminent”). This also comports

with the common law understanding of the term “alien enemy” as subject of a foreign state at war

with the United States. See Johnson v. Eisentrager, 339 U.S. 763, 769 n.2 (1950) (collecting cases).

       Indeed, the same Congress that passed the AEA also passed another law with strikingly

similar statutory bounds. In response to concerns about impending war with France, the 1798

Congress authorized the President to raise troops “in the event of a declaration of war against the

United States, or of an actual invasion of their territory, by a foreign power, or of imminent danger

of such invasion.” Act of May 28, 1798, ch. 47, 1 Stat. 558. This language, which, as Judge

Henderson noted, “bears more than a passing resemblance to the language of the AEA,” J.G.G.,

2025 WL 914682, at *9, makes plain that Congress was concerned about military incursions by

the armed forces of a foreign nation.




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       Tellingly, the AEA requires that the predicate invasion or predatory incursion be “against

the territory of the United States.” 50 U.S.C. § 21. And at the time of founding, actions “against

the territory of the United States” were expressly understood to be military in nature. See Ex parte

Bollman, 8 U.S. (4 Cranch) 75, 131 (1807) (describing levying war against the United States as “a

military enterprize [sic] . . . against any of the territories of the United States”); Wiborg v. United

States, 163 U.S. 632, 633 (1896) (explaining that a group of seamen were charged with preparing

for a “military expedition . . . against the territory and dominions of a foreign prince”).

       If any doubt were left about the military nature of the terms, the historical context dispels

it. J.G.G., 2025 WL 914682, at * 9 (Henderson, J., concurring); D.B.U., 2025 WL 1163530, at

*11; see Truck Ins. Exch. v. Kaiser Gypsum Co., Inc., 602 U.S. 268, 279 (2024) (considering the

“historical context” of statute for purposes of interpretation). At the time of passage, the United

States was preparing for possible war with France and already under attack in naval skirmishes.

French ships were attacking U.S. merchant ships in United States waters. See, e.g., 7 Annals of

Cong. 58 (May 1797) (promoting creation of a Navy to “diminish the probability of . . . predatory

incursions” by France while recognizing that distance from Europe lessened the chance of

“invasion”). Congress worried that these attacks against the territory of the United States were the

precursor to all-out war with France. J.G.G., 2025 WL 914682, at *1 (Henderson, J., concurring)

(“In 1798, our fledgling Republic was consumed with fear . . . of external war with France.”). This

“predatory violence” by a sovereign nation led, in part, to the AEA. See Act of July 7, 1798, ch.

67, 1 Stat. 578, 578 (“[W]hereas, under authority of the French government, there is yet pursued

against the United States, a system of predatory violence”).

       Under the statutory text, canons of construction, and historical context, then, “invasion” or

“predatory incursion” are military actions by foreign governments that constitute or imminently




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precede acts of war. “Mass illegal migration” or criminal activities, as described in the

Proclamation, plainly do not fall within the statutory boundaries. On its face, the Proclamation

makes no findings that TdA is acting as an army or military force. Nor does the Proclamation

assert that TdA is acting with an intent to gain a territorial foothold in the United States for military

purposes. And the Proclamation makes no suggestion that the United States will imminently be at

war with Venezuela. The oblique references to the TdA’s ongoing “irregular warfare” within the

United States do not suffice because the Proclamation makes clear that it is referring to “mass

illegal migration” and “crimes”—neither of which constitute war within the founding era

understanding. The Proclamation asserts that TdA “commits brutal crimes” with the goal of

“harming United States citizens, undermining public safety, and . . . destabilizing democratic

nations.” But these military actions are simply not “against the territory” of the United States.

Indeed, if mass migration or criminal activities by some members of a particular nationality could

qualify as an “invasion,” then virtually any group, hailing from virtually any country, could be

deemed enemy aliens.

        Second, by no stretch of the statutory language can TdA be deemed a “foreign nation or

government.” Those terms refer to an entity that is defined by its possession of territory and legal

authority. See Johnson’s Dictionary, Nation (1773) (“A people distinguished from another people;

generally by their language, original, or government.”); Webster’s Dictionary, Nation (1828) (“A

body of people inhabiting the same country or united under the same sovereign government; as

the English nation”); Johnson’s Dictionary, Government (1773) (“An established state of legal

authority.”). Applying the whole-text canon again, see supra, confirms that Congress had in mind

state actors. First, the AEA presumes that a designated nation possesses treaty-making powers.

See 50 U.S.C. § 22 (“stipulated by any treaty . . . between the United States and the hostile nation




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or government”). Nations—not criminal organizations—are the entities that enter into treaties.

See, e.g., Medellin v. Texas, 552 U.S. 491, 505, 507 (2008) (treaty is “a compact between

independent nations” and “agreement among sovereign powers”) (internal quotation marks

omitted); Holmes v. Jennison, 39 U.S. 540, 570-72 (1840) (similar). Second, when a “nation or

government” is designated under the AEA, the statute unlocks power over that nation or

government’s “natives, citizens, denizens, or subjects.” 50 U.S.C. § 21. Countries have “natives,

citizens, denizens, or subjects.” By contrast, criminal organizations, in the government’s own

view, have “members.” Proclamation § 1 (“members of TdA”).

       Historical context also reflects Congress’s intent to address conflicts with foreign

sovereigns, not criminal gangs. See 5 Annals of Cong. 1453 (Apr. 1798) (“[W]e may very shortly

be involved in war . . .”); John Lord O’Brian, Special Ass’t to the Att’y Gen. for War Work, N.Y.

State Bar Ass’n Annual Meeting: Civil Liberty in War Time, at 8 (Jan. 17, 1919) (“The [AEA]

was passed by Congress . . . at a time when it was supposed that war with France was imminent.”).

This comports with the founding-era, common law understanding of the term “alien enemy” as

subject of a foreign state at war with the United States. See Johnson v. Eisentrager, 339 U.S. 763,

769 n.2 (1950) (collecting cases).

       On this statutory element, the Proclamation again fails on its face. It never asserts that TdA

is a foreign “nation” or “government.” D.B.U., 2025 WL 1163530, at *11. For good reason. As a

criminal gang, TdA possesses neither a defined territory nor any legal authority. Exh. A (Hanson

Decl.) ¶¶ 13, 16; Exh. B (Antillano Decl.) ¶¶ 11, 13; Exh. C (Dudley Decl.) ¶¶ 22–23. The

Proclamation asserts that “[o]ver the years,” the Venezuelan government has “ceded ever-greater

control over their territories to transnational criminal organizations.” But the Proclamation notably

does not say that TdA operates as a government in those regions. In fact, the Proclamation does




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not even specify that TdA currently controls any territory in Venezuela. And even as the

Proclamation singles out certain Venezuelan nationals, it does not claim that Venezuela is invading

the United States. 12

        Moreover, the Proclamation designates TdA “members” as subject to AEA enforcement—

but “members” are not “natives, citizens, denizens, or subjects” within the meaning of the statute.

That glaring mismatch underscores that Respondents are attempting not only to use the AEA in an

unprecedented way, but in a way that Congress never permitted—as a mechanism to address, in

the government’s own words, a non-state actor. Venezuela has natives, citizens, and subjects, but

TdA (not Venezuela) is designated under the proclamation. No amount of wordplay can avoid the

obvious fact that Venezuela is the relevant country for statutory purposes here—and TdA is a non-

state criminal organization.

        The Court need go no further than finding that the Proclamation fails on its face. But even

if this Court were going to look at the Proclamation’s conclusory “findings,” those findings cannot

survive even the most minimally searching inquiry because they are simply incorrect as a factual

matter. 13 Experts who have spent years studying TdA are in accord that Venezuela is not directing,



12
   And, as the President’s own CIA Director recently testified, the intelligence community has no
assessment that says the U.S. is at war with or being invaded by Venezuela. See National Security
and Intelligence Officials Testify on Global Threats at 57:59–58:10, C-SPAN (Mar. 26, 2025),
https://www.cspan.org/program/house-committee/national-security-and-intelligence-officials-
testify-on-globalthreats/657380 (Q: “Does the intelligence community assess that we are currently
at war or being invaded by the nation of Venezuela?” A: “We have no assessment that says that.”).
13
   Where necessary, courts during World War II routinely examined the facts to ensure that the
AEA’s statutory limits on presidential power were observed. See, e.g., U.S. ex rel. Kessler, 163
F.2d at 143 (reviewing petitioner’s factual contention that the German government had ceased to
exist after it surrendered and thus was no longer a “foreign nation or government” under the AEA);
United States ex rel. D’Esquiva, 137 F.2d at 905–07 (reviewing the U.S. government’s full course
of conduct to ascertain whether and when it had officially recognized Austria’s annexation by
Germany; remanding for additional factfinding); U.S. ex rel. Zdunic, 137 F.2d at 860–61
(remanding for factfinding on statutory predicate; cf. Al-Alwi v. Trump, 901 F.3d 294, 298–300



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controlling, or otherwise influencing TdA’s actions in the United States. Exh. A (Hanson Decl.) ¶

17 (“absolutely implausible” that Maduro regime controls TdA or that the two are intertwined);

Exh. B (Antillano Decl.) ¶ 13 (no evidence that TdA “maintains stable connections with the

Venezuelan state or that the Maduro regime directs its actions toward the United States”); Exh. C

(Dudley Decl.) ¶ 23 (“no evidence that the Maduro regime has directed Tren de Aragua to migrate

to the United States or to commit any crimes within the United States”). As one expert who has

done numerous projects for the U.S. government, including on the topic of TdA, explained, the

Proclamation’s characterization of the relationship between the Venezuelan state and TdA with

respect to TdA’s activities in the United States is “simply incorrect.” Exh. C (Dudley Decl.) ¶¶ 5,

17-18. The President’s own intelligence agencies reached that same conclusion prior to his

invocation of the AEA. See Exh. H (Sarabia Roman Decl.), at Exh. 14 (“shared judgment of the

nation’s spy agencies” is “that [TdA] was not controlled by the Venezuelan government”); Exh.

19 (“The National Intelligence Counsel, drawing on the acumen of the United States’ 18

intelligence agencies, determined . . . that the Venezuelan government is not directing an invasion

of the United States by the prison gang Tren de Aragua.”).

       The courts’ role in enforcing the bounds of congressional statutory predicates, like

“predatory invasion” and “incursion” is critical. Congress passed the AEA within weeks of the

Alien Friends Act (“AFA”). That second law gave the President broader discretion to deport any

noncitizen who he considered “dangerous to the peace and safety of the United States,” regardless

of whether an invasion or war had occurred. An Act Concerning Aliens § 1, 1 Stat. 571. As such,

the 1798 Congress clearly meant to grant the President two distinct powers—the power to remove



(D.C. Cir. 2018) (evaluating whether “active hostilities” continued under the AUMF after 9-11;
concluding that “[t]he record so manifests here”).



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the nationals of foreign enemy sovereign countries in times of a war or imminent war, and the

power to remove particular dangerous noncitizens in times of war or peace. The government’s

preferred interpretation of the AEA—where the President can remove allegedly dangerous people

by deciding that virtually anything qualifies as a predatory incursion or invasion and any entity

qualifies as a foreign nation or government, and no court can review those determinations—

conflates the different statutory powers Congress conferred separately in the AEA and the AFA.

But it would have made little sense for Congress to pass two laws within weeks of each other,

unless those laws were meaningfully different. And the critical difference is, of course, the

statutory limitations on when the President can use the AEA—it is a particular tool for a particular

situation, namely the presence of nationals of a belligerent country during wartime, which simply

does not apply to present circumstances. Moreover, treating the AEA like the AFA is especially

untenable given that the AFA was “widely condemned as unconstitutional by Madison and many

others” and quickly allowed to lapse. Sessions v. Dimaya, 584 U.S. 148, 185 (2018) (Gorsuch, J.,

concurring) (the AFA “is one of the most notorious laws in our country’s history”); see also J.G.G.,

2025 WL 914682, at *1 (Henderson, J., concurring) (AFA was “widely derided as

unconstitutional”).

       Finally, the government cannot elide these statutory bounds by pointing to the President’s

inherent Article II power. The President has no constitutional power to unilaterally remove people.

Under Article I, Congress holds plenary power over immigration, INS v. Chadha, 462 U.S. 919,

940 (1983). The AEA operates as a specific delegation of authority from Congress to the President,

a delegation that Congress limited to instances of war or imminent war by a foreign nation or

government. Cf. Youngstown, 343 U.S. at 635–38. The President is not at liberty to exceed those

statutory powers.




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       Under Justice Jackson’s Youngstown framework, the President is taking measures

incompatible with the expressed will of Congress, and accordingly, he is acting as his “lowest ebb”

of power. Youngstown, 343 U.S. at 637. Because he has no inherent constitutional power to

unilaterally remove people, Congress’s powers prevail. Courts “can sustain exclusive Presidential

control in such a case only by disabling the Congress from acting upon the subject.” Id. at 637–

38. But there is simply no ground for ignoring the statutory constraints that Congress has

established, nor for disabling Congress’s constitutional authority to legislate with respect to

immigration and its own war powers. See Chadha, 462 U.S. at 940; Hamdan v. Rumsfeld, 548 U.S.

557, 591 (2006) (discussing Congress’s distinct war powers).

       B.      The Proclamation Violates the Specific Protections that Congress Established
               under the INA for Noncitizens Seeking Humanitarian Protection.

       Summary removal under the AEA is unlawful for an additional independent reason: it fails

to provide designated individuals with an opportunity to seek protection from persecution and

torture. Congress enacted the Foreign Affairs Reform and Restructuring Act (“FARRA”) to codify

the United Nations Convention against Torture and Other Cruel, Inhuman, or Degrading Treatment

or Punishment (“CAT”) and to ensure that noncitizens have meaningful opportunities to seek

protection from torture. See U.N. Convention Against Torture and Other Cruel, Inhuman or

Degrading Treatment or Punishment, art. 3, Dec. 10, 1984, S. Treaty Doc. No. 100-20, at 20

(1988); Foreign Affairs Reform and Restructuring Act of 1998 § 2242(a), Pub. L. No. 105-277,

Div. G. Title XXI, 112 Stat. 2681 (1998) (codified at 8 U.S.C. § 1231 notes) (implementing CAT);

C.F.R. §§ 208.16 to 208.18 (FARRA procedure). CAT categorically prohibits returning a

noncitizen to any country where they would more likely than not face torture. See 8 U.S.C. §1231

note. These protections apply regardless of the mechanism for removal.

       The D.C. Circuit addressed a similar issue in Huisha-Huisha v. Mayorkas, reconciling the


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Executive’s authority under a public-health statute, 42 U.S.C. § 265, with CAT’s anti-torture

protections. 27 F.4th 718 (D.C. Cir. 2022). That case is “on all fours” with this one. J.G.G., 2025

WL 890401, at *14. The D.C. Circuit held that because § 265 was silent about where noncitizens

could be expelled, and CAT explicitly addressed that question, no conflict existed. Both statutes

could—and therefore must—be given effect. 27 F.4th at 721, 731-32 (citing Epic Sys. Corp. v.

Lewis, 584 U.S. 497, 510 (2018) (“When . . . confronted with two Acts of Congress allegedly

touching on the same topic,” a court “must strive to give effect to both.”) (cleaned up)).

         The AEA can similarly be harmonized with other subsequently enacted statutes specifically

designed to protect noncitizens seeking asylum and withholding because of feared persecution.

See Refugee Act of 1980, Pub. L. No. 96-212, 94 Stat. 102 (1980) (asylum and withholding); 8

U.S.C. §§ 1158 (asylum), 1231(b)(3) (withholding of removal). Congress has unequivocally

declared that “[a]ny alien who is physically present in the United States or who arrives in the

United States . . . irrespective of such alien’s status, may apply for asylum.” 8 U.S.C. § 1158(a)(1).

Similarly, the withholding of removal explicitly bars returning a noncitizen to a country where

their “life or freedom” would be threatened based on a protected ground. Id. § 1231(b)(3)(A). “In

understanding this statutory text, ‘a page of history is worth a volume of logic.’” Jones v. Hendrix,

599 U.S. 465, 472 (2023) (quoting New York Trust Co. v. Eisner, 256 U.S. 345, 349 (1921)). These

humanitarian protections were enacted in the aftermath of World War II, when the United States

joined other countries in committing to never again turn our backs on people fleeing persecution

and torture. Sadako Ogata, U.N. High Comm’r for Refugees, Address at the Holocaust Memorial

Museum (Apr. 30, 1997). 14 A President invoking the AEA cannot simply sweep away these

protections.



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     https://perma.cc/X5YF-K6EU.


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       Indeed, the AEA must be read in the context of the INA. Since the last invocation of the

AEA more than eighty years ago, Congress carefully specified the procedures by which

noncitizens may be removed from the United States. And the INA leaves little doubt that its

procedures must apply to every removal, unless otherwise specified by that statute. See NLRB v.

SW Gen., Inc., 580 U.S. 288, 305 (2017) (“specific governs the general” in statutory construction).

It directs: “Unless otherwise specified in this chapter,” the INA’s comprehensive scheme provides

“the sole and exclusive procedure for determining whether an alien may be admitted to the United

States or, if the alien has been so admitted, removed from the United States.” 8 U.S.C. §

1229a(a)(3); see also United States v. Tinoso, 327 F.3d 864, 867 (9th Cir. 2003) (“Deportation and

removal must be achieved through the procedures provided in the INA.”). This language makes

clear that Congress intended for the INA to “supersede all previous laws with regard to

deportability.” S. Rep. No. 82-1137, at 30 (Jan. 29, 1952). 15

       Congress enacted these procedures with the full awareness that alien enemies were subject

to removal in times of war or invasion—in fact, the AEA had been invoked just a few years prior

to passage of the 1952 INA. See Miles v. Apex Marine Corp., 498 U.S. 19, 32 (1990) (courts

presume Congress drafts statutes with full knowledge of existing law). But Congress declined to

carve out AEA removals as an exception from standard immigration procedures, even as it

expressly provided exceptions for other groups of noncitizens, including noncitizens who pose

security risks. See, e.g., 8 U.S.C. § 1531 et seq. (establishing fast-track proceedings for noncitizens



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   One of the processes otherwise specified in the INA is the Alien Terrorist Removal Procedure
at 8 U.S.C. § 1531 et seq. The Attorney General may opt to use these proceedings when he or she
has classified information that a noncitizen is an “alien terrorist.” Id. § 1533(a)(1). But even that
process requires notice, a public hearing, provision of counsel for indigents, the opportunity to
present evidence, and individualized review by an Article III judge. Id. § 1532(a), 1534(a)(2), (b),
(c)(1)-(2). And the government bears the burden of proving, by a preponderance of the evidence,
that the noncitizen is subject to removal as an “alien terrorist.” Id. § 1534(g).


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posing national security risks).

       Ignoring the INA’s role as the “sole and exclusive” procedure for determining whether a

noncitizen may be removed, Respondents have refused to commit to providing class members—

many of whom have strong claims—with an opportunity to assert their rights under any

humanitarian statute, as required under the INA. See supra, Guidance for Implementing the Alien

Enemies Act 5 (people designated as alien enemies are “shall be ineligible for any relief or

protection from removal”). And even if Petitioner could apply, the opportunity is meaningless

insofar as Respondents withhold information about the country to which he will be removed. See

J.G.G., 2025 WL 890401, at *15. But summary removals to the horrific conditions in Salvadoran

prisons are precisely what Congress enacted these protections to prevent.

IV.    The Administration’s Abuse of the Alien Enemies Act Has Caused and Will Continue
       to Cause Petitioner Irreparable Harm.

       Petitioner faces immediate, irreparable harm absent an injunction. Without preliminary

relief, Petitioner and members of the class can be summarily removed to places, such as El

Salvador, where they face life-threatening conditions, persecution and torture. J.G.G., 145 S. Ct.

at 1010-11 (Sotomayor, J., dissenting) (“[I]nmates in Salvadoran prisons are ‘highly likely to face

immediate and intentional life-threatening harm at the hands of state actors.’”). And while removal

does not by itself necessarily constitute irreparable harm, Nken v. Holder, 556 U.S. 418, 435

(2009), these are hardly run-of-the-mill removals. Removal of Petitioner or any class members

would constitute grave and immediate irreparable harm because of what awaits them in a

Salvadoran prison. See generally Exh. D (Bishop Decl.); Exh. E (Goebertus Decl.). Prison

conditions in El Salvador are “harsh and life threatening.” Bishop Decl. ¶¶ 14, 21; see also Exh. E

(Goebertus Decl.) ¶ 4. Prison officials there engage in widespread physical abuse, including

waterboarding, electric shocks, using implements of torture on detainees’ fingers, forcing


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detainees into ice water for hours, and hitting or kicking detainees so severely that it causes broken

bones or ruptured organs. Exh. D (Bishop Decl.) ¶¶ 21, 33, 37, 39, 41; Exh. E (Goebertus Decl.)

¶¶ 8, 10, 17.

         People in detention in El Salvador also face psychological harm, including solitary

confinement in pitch dark cells or being forced to stay in a cell with the body of a fellow prisoner

who was recently beaten to death. Exh. E (Goebertus Decl.) ¶ 3; Exh. D (Bishop Decl.) ¶ 39. In

fact, El Salvador creates these horrific conditions intentionally to terrify people. Exh. D (Bishop

Decl.) ¶ 22; See also Tesfamichael v. Gonzales, 411 F.3d 169, 178 (5th Cir. 2005); (“irreparable

harm” where petitioners face “forced separation and likely persecution” “if deported”); Huisha-

Huisha, 27 F.4th at 733 (irreparable harm exists where petitioners “expelled to places where they

will be persecuted or tortured”); Leiva-Perez v. Holder, 640 F.3d 962, 969 (9th Cir. 2011) (holding

that removal to a country where one faces harm constitutes irreparable injury); Demjanjuk v.

Holder, 563 F.3d 565, 565 (6th Cir. 2009) (granting stay for noncitizen who asserted removal

would violate CAT); see also Kahn v. Elwood, 232 F. Supp. 2d 344, 351 (M.D. Pa. 2002) (“Surely,

the specter of potential prospective torture—no matter how remote the possibility—rises to the

level of irreparable harm.”). And Petitioner and class members may never get out of these prisons.

See Nayib Bukele, X.com, (Mar. 16, 2025, 5:13AM ET); 16 see also Exh. E (Goebertus Decl.) ¶ 3

(quoting the Salvadorean government that people held in CECOT “will never leave”); id. (“Human

Rights Watch is not aware of any detainees who have been released from that prison.”).

         And even if the government instead removes Petitioner to Venezuela, he faces serious harm

there, too. Petitioner fled Venezuela for the very purpose of escaping the persecution he faced

there and has a pending asylum case on that basis. ECF No. 3-1 ¶ 6. And returning to Venezuela



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     https://perma.cc/52PT-DWMR.


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labeled as a gang member by the United States government only increases the danger, as he will

face heightened scrutiny from Venezuela’s security agency, and possibly even violence from rivals

of TdA. Exh. A (Hanson Decl.) ¶ 28.

V.     The Balance of Equities and Public Interest Weigh Decidedly in Favor of a
       Preliminary Injunction Order.

       The balance of equities and the public interest factors merge in cases against the

government. Nken, 556 U.S. at 435. Here, the balance of hardships overwhelmingly favors

Petitioner. The public has a critical interest in preventing wrongful removals to places where

individuals will face persecution and torture. Id. at 436 (describing the “public interest in

preventing aliens from being wrongfully removed, particularly to countries where they are likely

to face substantial harm”); Nunez v. Boldin, 537 F. Supp. 578, 587 (S.D. Tex. 1982) (protecting

people who face persecution abroad “goes to the very heart of the principles and moral precepts

upon which this country and its Constitution were founded”). Indeed, “the public interest clearly

favors the protection of constitutional rights.” Tenafly Eruv Ass’n, Inc. v. Borough of Tenafly, 309

F.3d 144, 178 (3d Cir. 2002) (citation omitted). Conversely, the government can make no

comparable claim to harm from an injunction. Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th

Cir. 2013) (the government “cannot suffer harm from an injunction that merely ends an unlawful

practice”); League of Women Voters v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (describing the

“substantial public interest in having governmental agencies abide by the federal laws that govern

their existence and operations” (citation omitted)). Respondents, moreover, will retain the ability

to prosecute criminal offenses, detain noncitizens, and remove noncitizens under existing statutory

immigration laws.




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VI.    Preliminary Class-Wide Relief Is Proper.

       For all the reasons stated in the Petitioner’s Motion for Class Certification, the

provisionally certified class meets the requirements for certification pursuant to Federal Rules of

Civil Procedure 23(a) and 23(b)(2) and this Court should include class-wide relief in its

preliminary injunction, as it did in the TRO Order. Alternatively, the Court can use Rule 23 as a

guidepost to provide class-wide relief and certify a class under the All Writs Act and principles of

habeas jurisdiction and equity. Only class-wide relief will prevent the government from continuing

the “shell game” that it has played in an effort to prevent meaningful judicial review. J.G.G., 2025

WL 914682, at *14–15 (Millett, J., concurring).

       Every circuit to consider the question has found that a class habeas action may be

maintained. See U.S. ex rel. Sero v. Preiser, 506 F.2d 1115, 1125–26 (2d Cir. 1974); Bijeol v.

Benson, 513 F.2d 965, 967 (7th Cir. 1975); Williams v. Richardson, 481 F.2d 358, 361 (8th Cir.

1973); Mead v. Parker, 464 F.2d 1108, 1112–13 (9th Cir. 1972); Napier v. Gertrude, 542 F.2d

825, 827 & n.5 (10th Cir. 1976); LoBue v. Christopher, 82 F.3d 1081, 1085 (D.C. Cir. 1996). For

instance, in Sero, the Second Circuit relied on the Supreme Court’s decision in Harris v. Nelson,

394 U.S. 286 (1969), to “confirm[] the power of the judiciary, under the All Writs Act . . . to

fashion for habeas actions ‘appropriate modes of procedure, by analogy to existing rules or

otherwise in conformity with judicial usage,’” and held that “unusual circumstances” provided

“compelling justification for allowing a multi-party proceeding similar to the class action

authorized by the Rules of Civil Procedure.” 506 F.2d at 1125 (citing Harris, 394 U.S. at 299).

Adopting a similar approach in Bijeol, the Seventh Circuit found a class habeas appropriate where

all prisoners raised an “identical” issue of law, and the number of prisoners was “too great for

joinder of all to be practical.” 513 F.2d at 968. Likewise, the Eighth and Ninth Circuits reversed



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district court decisions, holding that a habeas corpus petition may seek relief for an appropriate

class. See Mead, 464 F.2d at 1113 (“where the relief sought can be of immediate benefit to a large

and amorphous group . . . a class action may be appropriate”); Williams, 481 F.2d at 361 (agreeing

with Mead); LoBue, 82 F.3d at 1085 (noting that “courts have in fact developed such equivalents”

of “class actions in habeas”).

       As this Court recognized, the Third Circuit has indicated that a habeas class may be

certified. See ECF No. 45 at 1-2 (citing Gayle v. Warden Monmouth Cnty. Corr. Instit., 12 F.4th

321, 336-37 (3d Cir. 2021) (declaratory relief available to certified habeas class)). The Supreme

Court has also ruled on the merits in multiple class habeas cases, including several recent ones

involving immigration detention. See, e.g., Johnson v. Guzman Chavez, 594 U.S. 523, 532 (2021)

(class of noncitizens detained in Virginia); Nielsen v. Preap, 586 U.S. 392, 400 (2019) (two classes

of noncitizens, one detained in California and the other in the Western District of Washington);

Jennings v. Rodriguez, 583 U.S. 281, 290 (2018) (class of noncitizens in the Central District of

California, with subclasses for different detention authorities).

       The reasoning of these cases confirms why class-wide relief is not only appropriate but

necessary here. Threshold questions of law about the validity of the Proclamation and the process

due to individuals designated thereunder—on which Petitioner is likely to succeed on the merits—

are common to every member of the proposed class. Preliminary injunctive relief on a class-wide

basis is necessary to prevent irreversible and irreparable harm. Thus, the court need not make a

formal determination as to class certification before granting a classwide preliminary injunction,

because “[i]t is well established that ‘certain circumstances give rise to the need for prompt

injunctive relief for a named plaintiff or on behalf of a class’ and that the ‘court may conditionally

certify the class or otherwise award a broad preliminary injunction, without a formal class ruling,




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under its general equity powers.’” Martinez-Brooks v. Easter, 459 F. Supp. 3d 411, 450 (D. Conn.

2020) (cleaned up).

VII.   The Court Should Extend and Expand the Due Process Requirements Ordered in the
       TRO.

       First, Petitioner respectfully requests that the Court extend the notice period to 30 days,

the notice period given during World War II to allow people designated under the AEA to

voluntarily depart the country. 10 Fed. Reg. 12189 (Sept. 28, 1945). The 14-day notice period

provided by the TRO is insufficient given the conditions in Moshannon. Contacting an attorney

from Moshannon is difficult because of limited slots available for legal calls. Exh. I (Brunsink

Decl.) ¶ 9. And the provider of free legal orientation services and referrals for pro bono placement

no longer operates at Moshannon due to funding cuts from the Trump Administration. Exh. I

(Brunsink Decl.) ¶ 7. Even if those programs resume, the steps required to file a habeas petition,

including conducting legal research, filing by mail (the only means available for pro se petitioners),

and consulting with a pro se assistance service, would take well over fourteen days. See generally

Exh. I (Brunsink Decl.); Exh. J (Nguyen Decl.).

       Second, Petitioner respectfully requests that the preliminary injunction require the

government to provide notice of designations to class counsel. That includes designations covering

anyone who has been detained at Moshannon at any time since April 15, 2025, anyone who is

currently detained, or anyone who is designated and then transferred into the District. ECF No. 44

at 8 (certifying class that includes individuals who were “in custody of the Western District of

Pennsylvania” after the filing of this action and who “will be subject to the [Proclamation]”). Given

the limited legal services available at Moshannon, notice to class counsel is critical to ensure

certified class members are able to vindicate their right to file habeas petitions. See J.G.G., 145 S.

Ct. at 1003 (“notice must be afforded . . . in such a manner as will allow them to actually seek


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habeas relief”); see also Exhs I, J (discussing limited access to counsel at Moshannon).

       Third, Petitioner asks that the preliminary injunction enjoin the government from

transferring class members outside of the Western District of Pennsylvania while this litigation is

pending, and return Petitioner to the Western District. The All Writs Act permits a court to “enjoin

almost any conduct which, left unchecked, would have the practical effect of diminishing the

court’s power to bring the litigation to a natural conclusion.” Klay v. United Healthgroup, Inc., 376

F.3d 1092, 1102 (11th Cir. 2004). As a practical matter, if the government were permitted to

transfer class members outside the District to distant detention centers, counsel will face obstacles

in gathering evidence and presenting facts relevant to the claims in this case, including whether or

not class members are properly designated as alien enemies under the Proclamation. This has

already been the case for Petitioner: since his transfer to the Bluebonnet Detention Center in

northern Texas on April 15, 2025, class counsel has only been able to arrange two calls because of

the limits on attorney-client phone lines, impeding timely access.

VIII. The Court Should Not Require Petitioner to Provide Security Prior to the
      Preliminary Injunction Order.

       The Court properly exercised its discretion not to require a bond under Federal Rule of

Civil Procedure 65(c). See Temple Univ. v. White, 941 F.2d 201, 219 (3d Cir. 1991), cert denied

sub nom Snider v. Temple Univ., 502 U.S. 1032 (1992). District courts routinely do so in cases

brought by indigent and/or incarcerated people. See, e.g., S. Camden Citizens in Action v. N.J.

Dep’t of Envtl. Prot., 145 F. Supp. 2d 446, 504 (D.N.J. 2001); Cradle of Liberty Council, Inc. v.

City of Philadelphia, No. CIV.A. 08-2429, 2010 WL 760250, at *1 (E.D. Pa. Mar. 2, 2010). This

Court should do the same here.




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Dated: April 29, 2025                Respectfully submitted,


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